Case: 24-30024           Document: 34-1         Page: 1      Date Filed: 08/27/2024




          United States Court of Appeals
               for the Fifth Circuit                                        United States Court of Appeals
                                                                                     Fifth Circuit
                                  ____________
                                                                                   FILED
                                                                             August 27, 2024
                                   No. 24-30024
                                 Summary Calendar                             Lyle W. Cayce
                                 ____________                                      Clerk

Patriot Disaster Specialist, L.L.C., as Assignee of Mary
Bergeron,

                                                                 Plaintiff—Appellant,

                                         versus

Standard Fire Insurance Company, A subsidiary of the
Travelers Companies,

                                            Defendant—Appellee.
                  ______________________________

                  Appeal from the United States District Court
                     for the Eastern District of Louisiana
                           USDC No. 2:23-CV-1687
                  ______________________________

Before Higginbotham, Stewart, and Southwick, Circuit Judges.
Per Curiam: *
      Plaintiff-Appellant Patriot Disaster Specialist, LLC (“Patriot”)
alleges that the district court erred by entering its October 23, 2023 and
December 15, 2023 orders in favor of Defendant-Appellee Standard Fire
Insurance Company (“Standard Fire”). The October 23, 2023 order (1)

      _____________________
      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
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                                  No. 24-30024


denied Patriot’s motion for reconsideration of the court’s August 17, 2023
order, which granted Standard Fire’s motion to dismiss Patriot’s claims
pursuant to Federal Rule of Civil Procedure 12(b)(6); (2) granted Standard
Fire’s motion to disqualify Patriot’s counsel; (3) denied Patriot’s motion to
strike the affidavits attached to Standard Fire’s motion to disqualify counsel;
and (4) denied Patriot’s motion for leave to file a sur-reply. The December
15, 2023 order denied Patriot’s motion for reconsideration of the court’s
October 23, 2023 order disqualifying counsel for Patriot, denying Patriot’s
motion to strike affidavits, and denying Patriot’s motion for leave to file a sur-
reply.
         Our review of the record reveals that we lack jurisdiction over
Patriot’s motion for reconsideration of the district court’s dismissal of its
claims pursuant to Rule 12(b)(6) because the notice of appeal was untimely.
Having concluded that we lack subject matter jurisdiction to hear the
underlying suit, we DISMISS as moot Patriot’s appeal concerning the
district court’s: (1) grant of Standard Fire’s motion to disqualify counsel for
Patriot; (2) denial of Patriot’s motion to strike Standard Fire’s affidavits; and
(3) denial of Patriot’s motion for leave to file a sur-reply.
                                        I.
         The relevant dates are as follows. On July 11, 2023, Standard Fire
moved to dismiss the claims against it under Rule 12(b)(6) for failure to state
a claim upon which relief can be granted. On July 14, 2023, the district court
granted Patriot’s motion for leave to withdraw counsel and directed Patriot
to enroll new counsel within 30 days. In that order, the district court
cautioned Patriot that failure to enroll new counsel may result in dismissal of
all claims. Patriot, however, failed to enroll new counsel and failed to file a
timely opposition to the motion to dismiss. On August 17, 2023, the district
court granted Standard Fire’s unopposed motion to dismiss Patriot’s claims




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                                  No. 24-30024


pursuant to Rule 12(b)(6). On September 14, 2023, Patriot moved the district
court to reconsider its dismissal order pursuant to Federal Rule of Civil
Procedure 59(e). That motion was denied on October 23, 2023. On
November 16, 2023, Patriot filed a second motion to reconsider its dismissal
order pursuant to Rule 59(e). On December 15, 2023, Patriot’s second
motion was denied. Patriot filed its notice of appeal on January 11, 2024.
                                       II.
       This court has a duty to examine the basis of its jurisdiction, sua
sponte, if necessary. Mosley v. Cozby, 813 F.2d 659, 660 (5th Cir. 1987).
“[T]he timely filing of a notice of appeal in a civil case is a jurisdictional
requirement.” Bowles v. Russell, 551 U.S. 205, 214 (2007). Parties ordinarily
have 30 days from entry of judgment to file such a notice, but this
requirement is tolled by a timely post-judgment motion pursuant to Federal
Rule of Civil Procedure 59 or 60. See Fed. R. App. P. 4(a)(4)(A)(iv)–(vi).
However, a successive post-judgment motion that seeks the same or similar
relief as an earlier filed post-judgment motion does not further toll the time
to appeal. See Charles L.M. v. N.E. Indep. Sch. Dist., 884 F.2d 869, 870 (5th
Cir. 1989) (holding that a successive identical post-judgment motion does not
toll the time to appeal as recognized by “well-established authority in this
and other circuits”); see also Edwards v. 4JLJ, L.L.C., 976 F.3d 463, 465 (5th
Cir. 2020) (concluding that a notice of appeal was untimely); Thomas v.
Stafflink, Inc., 855 F. App’x 983, 984 (5th Cir. 2021) (same), cert. denied, 142
S. Ct. 1386 (2022).
       It falls within our precedent that a successive identical post-judgment
motion does not serve to toll the deadline. Charles L.M., 884 F.2d at 870.
Thus, in the instant case, the 30-day period for appeal of the dismissal
pursuant to Rule 12(b)(6) ran from the district court’s denial of Patriot’s first
Rule 59(e) motion on October 23, 2023. Patriot’s filing of its second motion




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                                   No. 24-30024


for consideration on November 16, 2023 did not interrupt the running of the
time for appeal of the original dismissal order. Thus, dismissal of that appeal
is proper here as untimely under Rule 4(a). Charles L.M., 884 F.2d at 870–71
(“The interest of finality requires that parties generally get only one bite at
the [Rule] 59(e) apple for the purpose of tolling the time for bringing an
appeal.”); Eleby v. Am. Med. Sys., 795 F.2d 411, 412–13 (5th Cir. 1986).
Accordingly, we will not review Patriot’s appeal of the district court’s order
denying its motion for reconsideration of the Rule 12(b)(6) dismissal.
                                       III.
       Still, Patriot attempts to appeal the district court’s December 15, 2023
order denying its Rule 59(e) motion to reconsider the court’s order
disqualifying counsel for Patriot, denying Patriot’s motion to strike affidavits,
and denying Patriot’s motion for leave to file a sur-reply. Because Patriot’s
notice of appeal was filed more than 30 days after the October 23, 2023 order
denying its motion for reconsideration, it is untimely as to the underlying
judgment of dismissal. There is no live controversy for this court to
adjudicate. Thus, we dismiss as moot the appeal as to the motions for
disqualification, to strike affidavits, and for leave to file a sur-reply. See Tex.
Midstream Gas Servs., LLC v. City of Grand Prairie, 608 F.3d 200, 204 (5th
Cir. 2010) (citation and internal quotation marks omitted) (requiring that
“litigants retain a personal interest in a dispute at its inception and
throughout the litigation”); Church of Scientology v. United States, 506 U.S. 9,
12 (1992) (citation and internal quotation marks omitted) (holding that a
claim is moot if it becomes “impossible for the court to grant any effectual
relief whatever to a prevailing party”); see aslo Karaha Bodas Co., L.L.C. v.
Perusahaan Pertambangan Minyak Dan Gas Bumi Negara, 335 F.3d 357, 365
(5th Cir. 2003). Because we lack jurisdiction, we do not consider the merits
of Patriot’s arguments that the district court abused its discretion in denying
its Rule 59(e) motions.



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                          No. 24-30024


                              IV.
     This appeal is DISMISSED.




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